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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/11/2022
                                                                                                    CT Log Number 540867563
TO:         KIM LUNDY- EMAIL
            Walmart Inc.
            GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
            BENTONVILLE, AR 72712-3148

RE:         Process Served in South Carolina

FOR:        WALMART INC. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: Ruiter Cindy // To: WALMART INC.
DOCUMENT(S) SERVED:                               Letter, Summons, Complaint, Interrogatories, Requests
COURT/AGENCY:                                     Berkeley County Court of Common Pleas, SC
                                                  Case # 2021CP0802647
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 01/03/2019 - Wal-Mart Supercenter Facility
                                                  #2928 - 605 Saint James Avenue in Goose Creek (Berkeley County), South Carolina
ON WHOM PROCESS WAS SERVED:                       CT Corporation System, Columbia, SC
DATE AND HOUR OF SERVICE:                         By Certified Mail on 01/11/2022 postmarked: "Not Post Marked"
JURISDICTION SERVED :                             South Carolina
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):                          John W. Aylor
                                                  Joye Law Firm, L.L.P.
                                                  5861 Rivers Avenue
                                                  North Charleston, SC 29406
                                                  843-725-4260
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/12/2022, Expected Purge Date:
                                                  01/17/2022

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  2 Office Park Court
                                                  Suite 103
                                                  Columbia, SC 29223
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                                                                      MAILED FROM ZIP C
                                                           RETURN RECEIPT REQUESTED




                                                               5861 Rivers Avenue
                               "frigy                 F        North Charleston, SC 29406


                                  Via Certified Mail — Return Receipt Requested
                                  C T Corporation System
                                  Registered Agent for Walmart Inc. (f/k/a Wal-Mart Stores, Inc.)
                                  2 Office Partk Court, Suite 103
                                  Columbia, South Carolina 29223
                                  111"111111111111111111111'1111111111111111111 1 1111"1111 11111111
               2:22-cv-00421-DCN          Date Filed 02/10/22           Entry Number 1-1     Page 3 of 40




                                            Charleston Summerville Myrtle Beach
                                                     Columbia Clinton

                                                        Please Reply To:
                                                     Joye Law Firm, L.L.P.
                                                  5861 Rivers Avenue (29406)
                                                        P.O. Box 62888
                                                North Charleston, SC 29419-2888
TEL: (843)554-3100                                                                   John W.Aylor
FAX:(843)574-8830                                                                    Email: iavlor@iovelawfirm.com
TOLL FREE: 888-324-3100
WEB: WWW ioyelawfirm.com
                                                    January 6,2022

        Via Certified Mail — Return Receipt Requested
        C T Corporation System
         Registered Agent for Walmart Inc.(f/k/a Wal-Mart Stores, Inc.)
        2 Office Partk Court, Suite 103
        Columbia, South Carolina 29223

                 Re:       Cindy Ruiter vs. Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-Mart Stores East, LP;
                           Wal-Mart Supercenter Facility #2928
                           Case Number: 2021-CP-08-02647
                           Date ofIncident: 1/3/2019

        Dear Sir and/or Madam:

        Enclosed please find the Summons and Complaint in the above-referenced matter. I have also
        enclosed Plaintiff's Interrogatories to Defendant and Plaintiffs Requests for Production to
        Defendant regarding the same. The foregoing are hereby being served upon you for service of
        process in South Carolina.

        Please forward these documents to liability claims adjuster, Elisa Velasquez at Walmart Claims
        Services, Inc., referencing claim number 8688102. Ms. Velasquez's telephone number is(800)
        527-0566.

         Very truly yours,

         JOYE LAW FIRM,L.L.P.




         John W. Aylor

         JWA/bas
         Enclosures
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                                                                                                   ELECTRONICALLY FILED - 2021 Dec 2112:39 PM - BERKELEY - COMMON PLEAS - CASE#2021CP0802647
STATE OF SOUTH CAROLINA                            IN THE COURT OF COMMON PLEAS
COUNTY OF BERKELEY                                 FOR THE NINTH JUDICIAL CIRCUIT
                                                    CASE NO.: 2021-CP-08-

Cindy Ruiter,

                      Plaintiff,
                                                                SUMMONS
VS.                                                         (Premises Liability)
                                                           (Jury Trial Requested)
 Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-
 Mart Stores East, LP; Wal-Mart Supercenter
 Facility # 2928,

                      Defendants.

TO THE DEFENDANTS ABOVE-NAMED:

       YOU ARE HEREBY SUMMONED and required to Answer the Complaint in this

action, a copy of which is herewith served upon you, and to serve a copy of your Answer to said

Complaint upon the subscriber at his office at 5861 Rivers Avenue, North Charleston, South

Carolina 29406, within thirty (30) days after the service hereof, exclusive of the day of such

service, and if you fail to Answer the Complaint within the time aforesaid, exclusive of the day

of such service, judgment by default will be entered against you for the relief demanded in the

Complaint.

                                                   JOVE LAW FIRM,L.L.P.

                                            By:           /s/John W. Aylor
                                                   John W. Aylor
                                                   SC Bar No.: 104469
                                                   5861 Rivers Ave.
                                                   North Charleston, SC 29406
                                                   Office: 843-725-4260
                                                   Fax: 843-529-9180
                                                   Email:jaylor@joyelawfirm.com
                                                   Attorneysfor Plaintiff
North Charleston, South Carolina
This 21st day of December, 2021.




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                                                                                                   ELECTRONICALLY FILED -2021 Dec 2112:39 PM - BERKELEY - COMMON PLEAS - CASE#2021CP0802647
STATE OF SOUTH CAROLINA                                  IN THE COURT OF COMMON PLEAS
COUNTY OF BERKELEY                                       FOR THE NINTH JUDICIAL crftcun
                                                            CASE NO.: 2021-CP-08-

Cindy Ruiter,


                                                                    COMI'LMNT
VS.                                                              (Premises Liability)
                                                                (Jury Trial Requested)
 Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-
 Mart Stores East, LP; Wal-Mart Supercenter
 Facility # 2928,

                        Defendants.

       Plaintiff hereby alleges and pleads as follows:

       1.       Plaintiff is a resident ofthe State of South Carolina.

       2.       Defendants Wal-Mart Stores, Inc., Wal-Mart Inc., Wal-Mart Stores East, LP, and

Wal-Mart Supercenter Facility # 2928 ("Wal-Mart Defendants") are foreign corporations that

transact business in Berkeley County, South Carolina.

       3.       Upon information and belief, Defendant Izetta Roundtree ("Roundtree") is a

resident of Berkeley County, South Carolina.

       4.       Wal-Mart Supercenter Facility # 2928 is a South Carolina entity located at 605

Saint James Avenue in Goose Creek (Berkeley County), South Carolina.

       5.       At all relevant times, the most substantial part of the acts and omissions

committed by Defendants giving rise to this action occurred in Berkeley County, South Carolina.

       6.       At all relevant times, Wal-Mart Defendants were the owner, operator, and

managing entity of Wal-Mart Supercenter Facility # 2928 located at 605 Saint James Avenue in

Goose Creek (Berkeley County), South Carolina.

       7.       Upon information and belief, at all relevant times, Wal-Mart Defendants were the

employer and/or principal of Defendant Roundtree and exercised control over the conduct of




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                                                                                                       ELECTRONICALLY FILED -2021 Dec 2112:39 PM - BERKELEY - COMMON PLEAS - CASE#2021CP0802647
Defendant Roundtree and had the right to control the time, manner, method, and performance of

Defendant Roundtree's employment and/or work.

        8.     Upon information and belief, at all relevant times, Defendant Roundtree was an

officer, director, agent, and/or employee of Wal-Mart Defendants and was acting within the

course and scope of her employment and/or work with Wal-Mart Defendants as the manager or

similarly titled position ofthe subject store.

        9.     At all relevant times, Plaintiff was a business invitee and guest of Defendants and

the subject store and properly and lawfully on the store premises.

        10.    On January 3, 2019, Plaintiff was seriously injured when she slipped on a foreign

substance, that was, and is believed to have been, blackberries, located on the floor around the

produce section ofthe store resulting in Plaintiff falling to the floor.

        16.    The condition of the floor around the produce section of the store before and

during the subject incident constituted a dangerous, hazardous, and/or unsafe condition that was

created by the actions and non-actions of Defendants or in the alternative, Defendants had actual

or constructive notice of the condition and knew or should have known that the said condition

constituted a dangerous, hazardous, and/or unsafe condition.

        1 1.   At all relevant times, Defendants owed a duty to store patrons, including Plaintiff,

to maintain the premises in a safe condition, conduct proper and thorough safety and other

inspections of the premises, discover and identify unsafe and dangerous conditions, take safety

precautions to warn of or eliminate unreasonable risks of harm to store patrons, including

Plaintiff, and to act appropriately so as not to cause injury and damage to store patrons, including

Plaintiff.

        12.     At all relevant times, Defendants owed a duty to store patrons, including Plaintiff,

to maintain, operate, and/or manage the premises in a safe and hazard-free condition and in the

event of the existence of a dangerous, hazardous, and/or unsafe condition, Defendants owed a

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                                                                                                       ELECTRONICALLY FILED -2021 Dec 2112:39 PM - BERKELEY - COMMON PLEAS - CASE#2021CP0802647
duty to store patrons, including Plaintiff, to warn of such a dangerous, hazardous, and/or unsafe

condition and to remove such dangerous, hazardous, and/or unsafe condition.

       13.    Defendants were negligent, grossly negligent, negligent per se, willful, wanton,

and reckless and breached the duties owed to Plaintiff in one or more ofthe following ways:

              a.      Creating dangerous, hazardous, and/or unsafe conditions on the premises;

              b.      Overseeing the creation of dangerous, hazardous, and/or unsafe conditions
                      on the premises;

              c.      Failing to properly and thoroughly inspect the floor around the produce
                      section ofthe store;

              d.      Failing to properly maintain the floor around the produce section of the
                      store;

              e.      Failing to properly oversee that the floor around the produce section ofthe
                      store was maintained in a safe condition and free of dangerous, hazardous,
                      and/or unsafe conditions;

              f.      Failing to properly safeguard against dangerous, hazardous, and/or unsafe
                      conditions;

              g.      Failing to warn store patrons, including Plaintiff, of the dangerous,
                      hazardous, and/or unsafe conditions;

              h.      Failing to properly hire, train, supervise, retain, and/or monitor
                      Defendants' employees and agents;

              i.      Failing to properly identify and report dangerous, hazardous, and/or
                      unsafe conditions at the subject store;

              1.      In failing to have, implement, maintain, and/or follow corporate policies
                      regarding the manner in which employees and agents are to carry out
                      duties and responsibilities so that the safety and well-being of store
                      patrons is not jeopardized;

              k.      In failing to adequately hire, train, supervise, and/or monitor the activities
                      ofemployees and agents at the subject store;

              1.      In failing to follow generally accepted standards of care applicable to the
                      operation of a commercial entity like the subject store;

              m.      In failing to follow generally accepted standards of care applicable to
                      employees and agents;


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                 n.     In violating the industry standard of care for owning, controlling,
                        supervising, operating, and managing a commercial entity like the subject
                        store;

                 o.     Failing to use the degree of care and caution that a reasonably prudent
                        entity would have used under the same or similar circumstances; and

                 P.     In such other particulars that may be established during the course of
                        discovery or at the trial ofthis action.

          All of which were a direct and proximate cause of the injuries and damages sustained by

Plaintiff described herein in violation of the statutes, laws, regulations, ordinances, industry

standards, customs, and practices of the State of South Carolina and the United States.

          14.    That Defendants' negligent, grossly negligent, negligent per se, willful, wanton,

and reckless conduct and breach of the duties owed to Plaintiff were the direct and proximate

cause ofthe incident and injuries described herein.

          15.    That as a direct and proximate cause of Defendants' negligent, grossly negligent,

negligent per se, careless, willful, wanton, and reckless conduct and breach of the duties owed to

Plaintiff, Plaintiff has suffered damages in the form of physical injury and harm, past and future

medical expenses, past and future physical and mental pain and suffering, permanent

injuries/impairment and disfigurement to her body, mental, emotional, and psychological

damage, and loss of enjoyment of life.

          16.    Defendants are liable to Plaintiff, including liability under the doctrines of

respondeat superior and agency, for the negligent, negligent per se, grossly negligent, careless,

reckless, willful, and wanton conduct of each Defendant and each Defendants' employees,

agents, and/or subordinates, such conduct consisting of one or more of the particulars described

herein.

          WHEREFORE,Plaintiff prays for judgment against Defendants for the injuries and

damages sustained by Plaintiff described herein in an amount of actual and punitive damages to



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be determined by the trier offact, for the costs ofthis action, and for such other and further relief

that this Court may deem just and proper.

                                                      Respectfully Submitted,

                                                      JOVE LAW FIRM,L.L.P.

                                              By:            Is/John W. Aylor
                                                      John W. Aylor
                                                      SC Bar No.: 104469
                                                      5861 Rivers Ave.
                                                      North Charleston, SC 29406
                                                      Office: 843-725-4260
                                                      Fax: 843-529-9180
                                                      Email:jaylor@joyelawfirm.com

                                                      Attorneysfor Plaintiff'

North Charleston, South Carolina
This 21st day of December, 2021.




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STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
COUNTY OF BERKELEY                                  FOR THE NINTH JUDICIAL CIRCUIT
                                                       CASE NO.: 2021-CP-08-02647

Cindy Ruiter,

                        Plaintiff,
                                                    Plaintiffs Interrogatories to Defendants
VS.


 Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-
 Mart Stores East, LP; Wal-Mart Supercenter
 Facility # 2928,

                        Defendants.



        Pursuant to Rule 33 ofthe South Carolina Rules ofCivil Procedure,Plaintiffhereby requests

that Defendants answer, under oath,the following interrogatories within thirty(30)days ofthe date

of service hereof, exclusive of the day of such service. These Interrogatories shall be deemed

continuing and shall require timely supplemental answers upon Defendants obtaining responsive

information.

                                         Interrogatories

        1.      Identify the names, addresses, and telephone numbers of all persons, regardless of

whether Defendants intend to have such persons testify at trial, known to Defendants or Defendants'

counsel as having knowledge or information ofthe facts ofthe case, set forth a summary sufficient

to inform Plaintiff of the important facts known to or observed by such persons, indicate whether

written or recorded statements have been taken from the persons,and indicate who has possession of

such statements.




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         2.    Set forth a list of photographs, plats, sketches or other prepared documents in

possession of Defendants that relate to the claim or the defense in the case.

         3.    Set forth the names and addresses of all insurance companies which have insurance

coverage, including those companies providing excess/umbrella coverage, relating to the subject

claim and set forth the number or numbers of the policies involved and the amount or amounts of

coverage provided in each policy.

         4.    List the names and addresses ofany expert witnesses whom Defendants propose to

use as a witness at the trial of the case. With respect to each such witness, please provide the

following:

        (a)    The name, address, and telephone numbers of each expert;

        (b)     Identify the subject matter upon which the expert is expected to testify;

        (c)    State the opinions to which the expert is expected to testify;

        (d)    Furnish a summary ofthe grounds for each opinion identified in Paragraph (c)and
               identify all supporting documents for said opinions;

        (e)    Identify all documents and materials of any type Defendants have provided to the
               expert and all documents and materials of any type the expert has provided to
               Defendants; and

        (f)    Identify all documents and materials of any type the expert has in any way utilized,
               consulted, or reviewed in the subject action,regardless ofwhether the documents and
               materials ultimately formed the basis of the expert' s opinions.

   •     5.    If Defendants contend that the actiohs or non-actions of Plaintiff caused or

contributed to the subject incident and/or the injuries and damages being claimed by Plaintiffin this

action, please provide the following:

        (a)    A summary ofthe facts and circumstances which support the contention, including,
               but not limited to, a description of each action or non-action on the part of Plaintiff
               that caused or contributed to the incident and/or the injuries and damages being
               claimed by Plaintiff;

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       (b)      The names, addresses, and telephone numbers of each person who supports or has
                knowledge ofthe contention;

      (c)       Identify each statute, regulation, ordinance,industry custom,practice, or standard of
                care which Defendants believe Plaintiff violated and describe with specificity how
                the violation contributed to causing the subject incident and/or the injuries and
                damages being claimed by Plaintiff; and

      (d)       A list of all documents which support the contention.

       6.      Identify all documents supporting or relating to Defendants' Answer to the Amended

Complaint and all defenses asserted by Defendants.

       7.      Identify all documents and tangible items of any nature and description which

Defendants intend to introduce into evidence or to use for impeachment purposes or as any type of

evidence, real or demonstrative, at the trial of this case.

       8.      Identify the names,addresses, home telephone numbers,places ofemployment,job

titles or capacities, and present whereabouts of all agents, servants, employees, representatives,

private investigators, and others who investigated the subject incident.

       9.      Identify by date,subject matter, and author all investigative or other reports prepared,

compiled, submitted, or made in the regular course of business as a result ofthe subject incident.

        10.    Identify the name, address, and telephone number of any safety or industry

organizations of which Defendants are a member.

        1 1.   Identify the titles and authors ofall volumes in Defendants' safety library regarding

floor maintenance and customer safety.



                                       [Signature on following page]




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                                                  JOYE LAW FIRM,L.L.P.




                                                  John Aylor, Esq.
                                                  5861 Rivers Avenue
                                                  North Charleston, SC 29406
                                                  Office: (843)554-3100
                                                  Facsimile: 843-529-9180
                                                  jaylor@joyelawfirm.com
                                                  Attorneys for Plaintiff
North Charleston, South Carolina
This 5th day of January, 2022.
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STATE OF SOUTH CAROLINA                               IN THE COURT OF COMMON PLEAS
COUNTY OF BERKELEY                                    FOR THE NINTH JUDICIAL CIRCUIT
                                                         CASE NO.: 2021-CP-08-02647

Cindy Ruiter,

                        Plaintiff,
                                                      Plaintiff's Requests for Production to
VS.                                                   Defendants

 Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-
 Mart Stores East, LP; Wal-Mart Supercenter
 Facility # 2928,

                        Defendants.

        Pursuant to Rule 34 ofthe South Carolina Rule of Civil Procedure,Plaintiffhereby requests

that Defendants respond, within thirty(30)days after the service hereof, to the following Requests

and that Defendants produce and permit the Plaintiffto inspect,copy,or photograph,at the offices of

the Plaintiff's attorneys at 5861 Rivers Avenue North Charleston, South Carolina 29406,each ofthe

following documents or things which may be in the possession, custody, or control of the

Defendants or its attorney which constitutes or contains evidence relating to the claim or defense of

the subject action; further Defendants are requested to allow the inspection of those items as to

which inspection is herein requested.

                                           Instructions
        These instructions apply to all Requests for Production served by Plaintiff, including those

requests previously served by Plaintiff

        1.      Answer each request separately and fully in writing under oath, unless it is objected

to, in which event the reasons for objecting must be stated in place of an answer. The response

should restate the request to which the answer is responding.




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        2.       The requests are continuing in nature. You are required under the South Carolina

Rules of Civil Procedure to supplement your responses if additional documents or information are

identified or become available during the course of this matter.

       3.        In responding to these requests, you must furnish all requested documents not subject

to a valid objection that are known by, possessed by, or available to you or subject to your

reasonable inquiry including documents in the possession ofyour attorneys, accountants,advisors,or

other persons directly or indirectly employed by, or connected with, you or your attorneys and

anyone else otherwise subject to your control. You must also make a diligent search ofyour records

and of other papers and materials in your possession, or available to you, or your representatives.

       4.        Iffor any reason you claim that any document(or part thereof)requested herein need

not be produced, including, but not limited to, any claim of work-product or attorney-client

privilege, please provide a privilege log identifying any and all such documents and describing the

legal and factual basis for your claim in sufficient detail so as to permit the court to adjudicate the

validity ofthat claim.In addition,for each such document,set forth the following information in the

privilege log:

       a)        the name ofthe sender(s);

       b)        the name ofthe author(s);

       c)        the name ofthe person(s) to whom copies were sent at any time;

       d)        the job title of each person named in (a),(b), and (c)above;

       e)        the date of the document; and

                 the nature and title ofthe document (e.g., letter, memorandum, etc.).




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        5.     If any document was, but is no longer, within your possession, custody or control,

state the approximate date of the disposition thereof and describe in a manner calculated to be

understood by Plaintiffs the circumstances surrounding each disposition.

       6.      Production Format:

               a.      TIFF/Native File Format Production. Documents will be produced as single-

page TIFF images with corresponding multi-page text, or in native file format document if

applicable, and necessary load files. Native files, along with corresponding metadata, will be

preserved. TIFF images will be of300 dpi quality or better. The load files will include an image load

file as well as a metadata(.dat)file with the metadata fields identified below on the document level

to the extent available.

               b.      Metadata. You have no obligation to create or manually code fields that are

not automatically generated by the processing of the ESI, that do not exist as part of the original

metadata of the document, or that would be burdensome or costly to obtain. For email, you shall

provide the following metadata fields associated with each document produced,to the extent they are

reasonably available: Custodian', File Path, Email Subject, From, To, CC,BCC,Date Sent, Time

Sent, Date Received, Time Received, Hash Value (such as MD5 or SHA-1), File Size, Bates

Number Begin,Bates Number End, Attachment Range,Attachment Begin,and Attachment End(or

the equivalent thereof), and Group ID/Family ID. For electronic documents, you shall provide the

following metadata fields associated with each document produced,to the extent they are reasonably

available: Custodian, File Path,Filename, Author, Date Created, Date Modified, Hash Value(such




I Custodian may include a non-human data source, such as an archive. A Duplicate Custodian field may
also be provided that identifies each custodian from which a document was collected but was suppressed
as a duplicate.

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as MD5 or SHA-1),File Size, File Extension, Bates Number Begin, Bates Number End,and Group

ID/Family ID.

                  c.    Structured Databases. To the extent you have responsive information that is

contained on structured databases, please notify us and we can meet and confer regarding the format

of such production.

                  d.    Appearance. Subject to appropriate redaction, each document's electronic

image will convey the same information and image as the original document,including formatting,

such as bolding, font size, and italics.

                  e.    Document Numbering.Each page ofa produced document will have a legible,

unique page identifier ("Bates Number")electronically "burned" onto the image at a location that

does not obliterate, conceal or interfere with any information from the source document. The Bates

Number for each page ofeach document will be created so as to identify the producing party. In the

case of materials redacted or deemed confidential in accordance with any applicable federal, state, or

common law, or any protective order or confidentiality stipulation entered into in this matter, a

redaction or confidentiality designation may be "burned" onto the document's image at a location

that does not obliterate or obscure any information from the source document.

                       De-NISTing. Electronic file collections will be De-NISTed, removing

commercially available operating system and application file information contained on the current

NIST file list.

                  g.    De-duplication. You may globally de-duplicate identical ESI as follows:

                             i. Electronic Files. Duplicate electronic files may be identified based

upon a commercially accepted method (e.g., MD5 or SHA-1 hash values)for binary file content. All




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files bearing an identical value are a duplicate group. You may produce one document image or

native file for duplicate ESI documents within the group.

                           ii. Email Files. Duplicate messaging files may be identified based upon a

commercially accepted method (e.g., MD5 hash values) for the email family, which include the

parent email and attachments. Duplicate messaging materials will be identified at a family level,

including message and attachment(s). Email families bearing an identical value are considered a

duplicate group. You may produce one document image or native file for duplicate ESI documents

within the group.

                          iii. Email Threading. You may use "email thread suppression." As used in

this protocol, email thread suppression means reducing duplicative production of email threads by

producing the most inclusive email containing the thread ofemails, as well as all attachments within

the thread, and excluding emails constituting duplicates of emails within the produced string. For

purposes ofthis paragraph, only email messages in which the parent document and all attachments

are exactly the same will be considered duplicates.

               h.     Production Media. You may produce documents via a secure file transfer

mechanism and/or on readily accessible, computer or electronic media as Plaintiff may hereafter

agree upon, including CD-ROM, DVD, or external hard drive (with standard PC compatible

interface)("Production Media"). All Production Media will be encrypted and you must provide a

decryption key to Plaintiff in a communication separate from the production itself Each piece of

Production Media will be assigned a production number or other unique identifying label

corresponding to the date of the production of documents on the Production Media as well as the

sequence ofthe material in that production.




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        7.       Anti-Spoliation

        You are hereby given notice to immediately take all steps(including handrails)necessary to

prevent the destruction, loss, concealment, or alteration of any paper, document, or electronic data

generated by and/or campground on any device in your or your law firm's possession, custody, or

control relating to the information requested in these requests.

       The information that you should preserve includes(by way of example and not exhaustive

list) potentially relevant information electronically, magnetically, or optically stored as: digital

communications (e-mail, voicemail, text messaging, instant messaging, internet posts); word

processing documents (e.g. MS Word); spreadsheets and tables (e.g. MS Excel); accounting

application data (e.g. Quicken, Peachtree); image and facsimile files (e.g. PDF, TIFF, JPG, GIF,

RAW files); sound recordings (e.g. WAV and MP3 files); video and animation; databases; contact

and relationship management data; internet profiles and logs (e.g. Twitter, Facebook, blogs,

match.com); online access data (e.g. temporary, Internet files, browser history, and cookies);

presentations; network access and server activity logs; project management application data; all data

created by/with the use of any smartphone or tablet); and back-up or archival files. This demand

applies to all electronic data already in existence and that is created on a going-forward basis,on any

device. Adequate preservation of electronic data requires more

than simply refraining from efforts to destroy or dispose ofsuch evidence. You must also intervene

loss due to routine operations and employ proper techniques to safeguard all such evidence.

       8.        The terms"and" and "or" shall be construed either conjunctively or disjunctively as

required by the context and shall not be interpreted to exclude documents otherwise within the scope

ofthe request.

       9.        The use of the singular form of any word includes the plural and vice versa.


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                                             Definitions

       For purposes of these requests for production, including definitions, explanations,

instructions, and the responses submitted thereto, the following definitions shall apply unless

otherwise indicated:

       a)      The term "you" or "your" refers to Defendants, and/or the person answering these

requests for production, plus your employees,former employees, agents, attorneys, and any other

persons who are in possession of or may have obtained documents for or on behalf of Defendants.

       b)      "Document" or "documents" includes all recorded or documented forms of

communications, including but not limited to internal emails (emails between current or former

employees, agents, officers, or representatives ofDefendants)and external emails(emails between

current or former employees,agents, officers, or representatives ofDefendants and any third party),

that are within the possession, custody, or control of Defendants or available to Defendants upon

reasonable inquiry.

       c)       "Document" or "documents" means all written, recorded, or graphic matters,

however produced or reproduced, whether or not privileged, concerning in any way the subject

matter ofthis action. This definition includes, but is not limited to, any and all originals, copies or

draft versions ofany ofthe following: records; notes; summaries; schedules; contracts; agreements;

drawings; sketches; invoices; orders; acknowledgements; diaries; reports; forecasts; appraisals;

memoranda oftelephone or in-person conversations by or with any person; any other memoranda,

letters, telegrams, telexes, telefacsimiles, or electronic mail (e-mail) communications prepared,

drafted, received or sent; tapes; transcripts; recordings; photographs; pictures; films; computer

programs or data, or other graphic, symbolic, recorded, or written materials of any nature

whatsoever. Any document that contains any comment,notation, addition, insertion, or marking of


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any kind which is not part of another document is to be considered a separate document. The terms

"document" and "documents" also include "electronic data," as that term is defined below.

        d)      "Electronic data" includes, but is not limited to, electronic mail messages and any

electronic folder or subfolder containing such messages; any other electronic messages, including

text messages, electronic bulletin boards and/or intranet or interne web sites or postings; activity

listings of electronic mail receipts and/or transmittals; electronic calendars or planners; electronic

documents or files created by or stored in Microsoft Word, Word Perfect or any other word-

processing or document-creation applications; electronic spreadsheets, graphs, charts, records or

other similar files or documents created by or stored in Microsoft Excel, Quicken, or any similar

applications; electronic data, documents,files, or records created by or stored in Microsoft Access,

Oracle, or any other data-management system or application; electronic documents,images,or files

created by or stored in a ".tiff" or other similar format; electronic documents or files created by or

stored in a ".pdf'or other similar format; electronic documents,files, or pages created by or stored

in an ".html" or other similar format; electronic log or cookie files created by any application or

operating system; voice mail; digital audio or video recordings ofany kind; computer programs or

applications; programming notes or instructions; output resulting from the use of any software

program; all miscellaneous electronic files and/or file fragments regardless ofthe media on which

they are stored and regardless of whether the data resides in an active file, deleted file, archived file,

slack space or file fragment, and any other electronic document,file, or data created by or stored in -

any enterprise, proprietary, shrink-wrap data-management program or application, any operating

system or other computer software application or other program whatsoever.

        e)      "Electronic data" also includes, but is not limited to, all of the items and data

described above or any other similar items or data stored or archived on personal computers,


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including desktop, notebook or laptop computers or personal digital assistants; hard drives of any

kind; magnetic media diskettes; compact disks, including but not limited to CD-ROMs and DVDs;

computer chips; servers, including portable servers; and any other digital or magnetic device

whatsoever.

               "Electronic data" also includes, but is not limited to, all of the items and data

described above or any other similar items or data stored or archived on computers or any device that

was used by former employees which is in your or your attorney's or other representative's

possession, custody, or control.

       A request to produce "electronic data" means Plaintiff is requesting that you provide the

responsive electronic data in its native-application electronic format on read-only media. When

producing electronic data in its native-application format, include all metadata. If the responsive

electronic data is not portable, identify the non-portable but responsive electronic data and identify

potential electronic production formats for Plaintiff's consideration. In the alternative, identify a

mutually Agreeable time for Plaintiff to inspect the responsive electronic data in its native electronic

environment.

                                              Requests

        1.     Produce copies of all documents identified in Defendants' answers to all

interrogatories, including supplemental interrogatories, served by Plaintiff or any other party upon

Defendants.

       2.      Produce copies of all documents obtained by Defendants or anyone acting on

Defendants' behalf via subpoena,Subpoena Duces Tecum,signed authorization form,or other legal

process.




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        3.     Produce copies of all statements, whether written or recorded on a tape recorder or

otherwise, given by Plaintiff or any employee, agent, or representative of Defendants.

       4.      Produce copies of all statements given by either eye witnesses or other witnesses to

the incidents and matters related to the subject lawsuit which are in the possession ofthe Defendants,

whether written or recorded or on a tape or otherwise.

       5.      Produce copies ofall documents and materials ofany type Defendants have provided

to a testifying expert witness.

       6.      Produce copies ofall documents and materials ofany type a testifying expert witness

has provided to Defendants.

       7.      With regard to any expert witness the Defendants intend to call as a witness at the

trial ofthis case, please produce:

              (a)      All documents, including a curriculum vitae, that Defendants contend will
                       establish the expert's qualifications to testify at trial.

              (b)      A copy of all reports prepared by the expert;

              (c)      A copy of each expert's field notes;

              (d)      A copy of all photographs or videotapes taken, utilized, reviewed, or
                       consulted by the expert;

              (e)      A copy of all diagrams or drawings prepared by the expert;

              (f)      A copy ofthe fee agreement with the expert;

              (g)      A copy of the time and billing records of the expert;

              (h)      A copy ofall articles, treatises, publications,or other authoritative documents
                       which the expert utilized, consulted, or in any way reviewed in the subject
                       action;

              (i)      A copy ofall articles,treatises, publications,or other authoritative documents
                       which support the expert's opinions in this action;


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                        A copy ofall articles, treatises, publications,or other authoritative documents
                        which do not support the expert's opinions in this action;

               (k)      All testing related to the expert's opinion;

               (1)     All documents which establish that the expert's opinion is generally accepted
                       in the witness's specified field of expertise; and

               (m)     All documents indicating that the expert's opinions were subject to peer
                       review.

       8.      Produce copies ofall statements, memoranda,reports, photographs, plats, diagrams,

and materials of any type which in any way might relate to the subject action.

       9.      Produce copies of all documents and tangible things of whatever nature and

description which Defendants intend to introduce into evidence or to use for impeachment purposes

or as any type of evidence, real or demonstrative, at trial ofthis case.

        10.    Produce copies of all background investigations and private investigator reports

which relate to the subject incident or to any party or witness involved in the subject action.

        1 1.    Produce copies ofall public records obtained by Defendants or their attorney which

relate to any party, witness, or issue in the subject action.

        12.    Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3, 2019 to regarding floor maintenance, cleaning, and/or inspections.

        13.    Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3,2019 regarding the identification and reporting of unsafe conditions at the subject store.

        14.    Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3, 2019 regarding the identification and reporting of unsafe conditions created during the

operating hours ofthe subject store.




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        15.      Produce a copy of all manuals and similar type documents utilized by Defendants

from January 3, 2016 through January 3, 2019 regarding the identification and reporting of unsafe

conditions created during the operating hours of the subject store.

        16.      Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3, 2019 regarding the management and the day-to-day operation of the subject store.

        17.      Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3, 2019 regarding the hiring of persons who maintain, clean, and/or inspect floors at the

subject store.

        18.      Produce a copy of all manuals and similar type documents utilized by Defendants

from January 3,2016 through January 3,2019 regarding the hiring of persons who maintain, clean,

and/or inspect floors at the subject store.

        19.      Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3, 2019 regarding the training of persons who maintain, clean, and/or inspect floors at the

subject store.

       20.       Produce a copy of all manuals and similar type documents utilized by Defendants

from January 3,2016 through January 3,2019 regarding the training ofpersons who maintain,clean,

and/or inspect floors at the subject store.

       21.       Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3,2019,regarding the supervision of persons who maintain, clean, and/or inspect floors at

the subject store.

       22.       Produce a copy of all manuals and similar type documents utilized by Defendants

from January 3, 2016 through January 3, 2019 regarding the supervision of persons who maintain,

clean, and/or inspect floors at the subject store.

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        23.      Produce a copy of Defendants' policies, procedures, and standards in effect on

January 3,2019 regarding the retention ofpersons who maintain, clean, and/or inspect floors at the

subject store.

       24.       Produce a copy of all manuals and similar type documents utilized by Defendants

from January 1, 2016 through January 3, 2019 regarding the retention of persons who maintain,

clean, and/or inspect floors at the subject store.

       25.       Produce a copy of the entire employment file of all persons responsible for the

maintenance, cleaning, and/or inspection of the floors ofthe subject store on January 3, 2019.

       26.       Produce a copy of the entire employment file of all persons who hired, and/or

managed, and/or supervised,and/or trained persons responsible for the maintenance,cleaning,and/or

inspection ofthe floors of the subject store on January 3, 2019.

       27.       Produce copies of all safety manuals utilized by Defendants in the last 10 years

related to the maintenance, cleaning, and/or inspection of the floors ofthe subject store.

       28.       Produce copies of all safety manuals utilized by Defendants from January 3, 2019

through January 3,2019 related to the maintenance,cleaning, and/or inspection offloors at the at the

subject store.

       29.       Produce a copy of Defendants'"mission statements" in effect on January 3, 2019.

       30.       Produce a copy of all documents and materials of any type provided to any other

party to this litigation in response to any discovery request, or otherwise.

       31.       Produce a copy ofany release, covenant, or other documents executed by any party

relating to the subject incident.

        32.      Produce a copy ofthe minutes for the past ten(10) years of Defendants' committee

meetings concerning safety, floor maintenance, floor cleaning, and/or floor inspections of stores.




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           33.     Produce all documents and materials ofany type related to Defendants' determination

    of whether the subject incident was preventable/non-preventable.

           34.     Produce a copy ofall documents regarding an analysis,review,or investigation ofthe

    subject incident.

           35.     Produce all documents which support each defense asserted in Defendants' Answer to

    the Amended Complaint.

           36.     Produce all documents prepared by any and all agents, servants, employees,

    representatives, private investigators, and others, including but not limited to those hired by

    Defendants, who investigated the incident complained ofin the subject action.

           37.     Produce all video surveillance tapes ofthe subject store on January 3, 2019.

           38.     Produce all video recordings of any type ofthe subject store on January 3, 2019.

                                                        JOYE LAW FIRM,L.L.P.




                                                        John Aylor, Esq.
                                                        5861 Rivers Avenue
                                                        North Charleston, SC 29406
                                                        Office: (843)554-3100
                                                        Facsimile: 843-529-9180
                                                        jaylor@joyelawfirm.com
                                                        Attorneys for Plaintiff
    North Charleston, South Carolina
    This 5th day of January, 2022.
2:22-cv-00421-DCN                          Date Filed 02/10/22                       Entry Number 1-1                      Page 28 of 40


                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/11/2022
                                                                                                    CT Log Number 540867570
TO:         KIM LUNDY- EMAIL
            Walmart Inc.
            GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
            BENTONVILLE, AR 72712-3148

RE:         Process Served in South Carolina

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: Ruiter Cindy // To: Wal-Mart Stores East, LP
DOCUMENT(S) SERVED:                               Letter, Summons, Complaint, Interrogatories, Requests
COURT/AGENCY:                                     Berkeley County Court of Common Pleas, SC
                                                  Case # 2021CP0802647
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 01/03/2019 - Wal-Mart Supercenter Facility
                                                  #2928 - 605 Saint James Avenue in Goose Creek (Berkeley County), South Carolina
ON WHOM PROCESS WAS SERVED:                       CT Corporation System, Columbia, SC
DATE AND HOUR OF SERVICE:                         By Certified Mail on 01/11/2022 postmarked: "Not Post Marked"
JURISDICTION SERVED :                             South Carolina
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):                          John W. Aylor
                                                  Joye Law Firm, L.L.P.
                                                  5861 Rivers Ave.
                                                  North Charleston, SC 29406
                                                  843-725-4260
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/12/2022, Expected Purge Date:
                                                  01/17/2022

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  2 Office Park Court
                                                  Suite 103
                                                  Columbia, SC 29223
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                    r 5861 Rivers Avenue
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                                 Via Certified Mail —Return Receipt Requested
                                 C T Corporation System
                                 Registered Agent for Wal-Mart Stores East, LP
                                (Wal-Mart Supercenter Facility #2928)
                                2 Office Park Court, Suite 103
                                Columbia, South Carolina 29223
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              2:22-cv-00421-DCN          Date Filed 02/10/22          Entry Number 1-1     Page 30 of 40




                                            Charleston Summerville Myrtle Beach
                                                     Columbia Clinton

                                                        Please Reply To:
                                                     Joye Law Firm, L.L.P.
                                                  5861 Rivers Avenue (29406)
                                                        P.O. Box 62888
                                                North Charleston,SC 29419-2888
TEL: (843)554-3100                                                                  John W.Aylor
FAX:(843)574-8830                                                                   Email:jaylor@iovelawfirm.com
TOLL FREE: 888-324-3100
WEB: www.joyelawfirm.com
                                                    January 6, 2022

        Via Certified Mail — Return Receipt Requested
        C T Corporation System
         Registered Agent for Wal-Mart Stores East, LP (Wal-Mart Supercenter Facility #2928)
        2 Office Park Court, Suite 103
        Columbia, South Carolina 29223

                 Re:       Cindy Ruiter vs. Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-Mart Stores East, LP;
                           Wal-Mart Supercenter Facility #2928
                           Case Number: 2021-CP-08-02647
                           Date ofIncident: 1/3/2019

         Dear Sir and/or Madam:

        Enclosed please find the Summons and Complaint in the above-referenced matter. I have also
        enclosed Plaintiffs Interrogatories to Defendant and Plaintiffs Requests for Production to
        Defendant regarding the same. The foregoing are hereby being served upon you for service of
        process in South Carolina.

        Please forward these documents to liability claims adjuster, Elisa Velasquez at Walmart Claims
        Services, Inc., referencing claim number 8688102. Ms. Velasquez's telephone number is(800)
        527-0566.

         Very truly yours,

         JOVE LAW FIRM,L.L.P.




         John W. Aylor

         JWA/bas
         Enclosures
2:22-cv-00421-DCN                          Date Filed 02/10/22                       Entry Number 1-1                      Page 31 of 40


                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/11/2022
                                                                                                    CT Log Number 540872213
TO:         KIM LUNDY- EMAIL
            Walmart Inc.
            GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
            BENTONVILLE, AR 72712-3148

RE:         Process Served in South Carolina

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

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DOCUMENT(S) SERVED:                               Letter, Summons, Complaint, Interrogatories, Requests
COURT/AGENCY:                                     Berkeley County - 9th Judicial Circuit Court, SC
                                                  Case # 2021CP0802647
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 01/03/2019, Store #2928, at 605 Saint James
                                                  Avenue in Goose Creek (Berkeley County), South Carolina
ON WHOM PROCESS WAS SERVED:                       CT Corporation System, Columbia, SC
DATE AND HOUR OF SERVICE:                         By Certified Mail on 01/11/2022 postmarked on 01/06/2022
JURISDICTION SERVED :                             South Carolina
APPEARANCE OR ANSWER DUE:                         Within 30 days after the service hereof, exclusive of the day of service
                                                  (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):                          John W. Aylor
                                                  Joye Law Firm, L.L.P.
                                                  5861 Rivers Ave.
                                                  North Charleston, SC 29406
                                                  843-725-4260
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/12/2022, Expected Purge Date:
                                                  01/17/2022

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  2 Office Park Court
                                                  Suite 103
                                                  Columbia, SC 29223
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
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of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                               5861 Rivers Avenue
                                                        06
                               North Charleston, SC 294


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               C T Corporation System
                                      VVal-Mart Stores East, LP
               Registered Agent for
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                                           Charleston Summerville Myrtle Beach
                                                    Columbia Clinton

                                                       Please Reply To:
                                                    Joye Law Firm, L.L.P.
                                                 5861 Rivers Avenue (29406)
                                                       P.O. pox 62888
                                               North Charleston, SC 29419-2888
TEL: (843) 554-3100                                                                 John W.Aylor
FAX:(843)574-8830                                                                   Email:jaylor@joyelawfirm.com
TOLL FREE: 888-324-3100
WEB: wwwjoyelawfirm.com
                                                   January 6, 2022

        Via Certified Mail — Return Receipt Requested
        C T Corporation System
         Registered Agent for Wal-Mart Stores East, LP
        2 Office Partk Court, Suite 103
        Columbia, South Carolina 29223

                 Re:      Cindy Ruiter vs. Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-Mart Stores East, LP;
                          Wal-Mart Supercenter Facility #2928
                          Case Number: 2021-CP-08-02647
                          Date of Incident: 1/3/2019

        Dear Sir and/or Madam:

        Enclosed please find the Summons and Complaint in the above-referenced matter. I have also
        enclosed Plaintiff's Interrogatories to Defendant and Plaintiff's Requests for Production to
        Defendant regarding the same. The foregoing are hereby being served upon you for service of
        process in South Carolina.

        Please forward these documents to liability claims adjuster, Elisa Velasquez at Walmart Claims
        Services, Inc., referencing claim number 8688102. Ms. Velasquez's telephone number is(800)
        527-0566.

        Very truly yours,

        JOYE LAW FIRM,L.L.P.




        John W. Aylor

        JWAfbas
        Enclosures
      2:22-cv-00421-DCN      Date Filed 02/10/22     Entry Number 1-1       Page 34 of 40




                                                                                                   ELECTRONICALLY FILED - 2022 Jan 18 3:45 PM - BERKELEY - COMMON PLEAS - CASE#2021CP0802647
STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
COUNTY OF BERKELEY                                  FOR THE NINTH JUDICIAL CIRCUIT
                                                     CASE NO.: 2021-CP-08- 02647

Cindy Ruiter,

                      Plaintiff,
                                                           AMENDED SUMMONS
vs.                                                           (Premises Liability)
                                                            (Jury Trial Requested)
 Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-
 Mart Stores East, LP; Wal-Mart Supercenter
 Facility # 2928; Izetta Roundtree,

                      Defendants.

TO THE DEFENDANTS ABOVE-NAMED:

        YOU ARE HEREBY SUMMONED and required to Answer the Amended Complaint in

this action, a copy of which is herewith served upon you, and to serve a copy of your Answer to

said Amended Complaint upon the subscriber at his office at 5861 Rivers Avenue, North

Charleston, South Carolina 29406, within thirty (30) days after the service hereof, exclusive of

the day of such service, and if you fail to Answer the Amended Complaint within the time

aforesaid, exclusive of the day of such service, judgment by default will be entered against you

for the relief demanded in the Amended Complaint.

                                                    JOYE LAW FIRM, L.L.P.

                                            By:            /s/ John W. Aylor
                                                    John W. Aylor
                                                    SC Bar No.: 104469
                                                    5861 Rivers Ave.
                                                    North Charleston, SC 29406
                                                    Office: 843-725-4260
                                                    Fax: 843-529-9180
                                                    Email: jaylor@joyelawfirm.com
                                                    Attorneys for Plaintiff
North Charleston, South Carolina
This 18th day of January, 2022.




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      2:22-cv-00421-DCN        Date Filed 02/10/22        Entry Number 1-1   Page 35 of 40




                                                                                                   ELECTRONICALLY FILED - 2022 Jan 18 3:45 PM - BERKELEY - COMMON PLEAS - CASE#2021CP0802647
STATE OF SOUTH CAROLINA                                   IN THE COURT OF COMMON PLEAS
COUNTY OF BERKELEY                                        FOR THE NINTH JUDICIAL CIRCUIT
                                                             CASE NO.: 2021-CP-08-02647

Cindy Ruiter,

                        Plaintiff,
                                                                AMENDED COMPLAINT
vs.                                                                (Premises Liability)
                                                                 (Jury Trial Requested)
 Wal-Mart Stores, Inc.; Wal-Mart Inc.; Wal-
 Mart Stores East, LP; Wal-Mart Supercenter
 Facility # 2928; Izetta Roundtree,

                        Defendants.

        Plaintiff hereby alleges and pleads as follows:

        1.      Plaintiff is a resident of the State of South Carolina.

        2.      Defendants Wal-Mart Stores, Inc., Wal-Mart Inc., Wal-Mart Stores East, LP, and

Wal-Mart Supercenter Facility # 2928 (“Wal-Mart Defendants”) are foreign corporations that

transact business in Berkeley County, South Carolina.

        3.      Upon information and belief, Defendant Izetta Roundtree (“Roundtree”) is a

resident of Berkeley County, South Carolina.

        4.      Wal-Mart Supercenter Facility # 2928 is a South Carolina entity located at 605

Saint James Avenue in Goose Creek (Berkeley County), South Carolina.

        5.      At all relevant times, the most substantial part of the acts and omissions

committed by Defendants giving rise to this action occurred in Berkeley County, South Carolina.

        6.      At all relevant times, Wal-Mart Defendants were the owner, operator, and

managing entity of Wal-Mart Supercenter Facility # 2928 located at 605 Saint James Avenue in

Goose Creek (Berkeley County), South Carolina.

        7.      Upon information and belief, at all relevant times, Wal-Mart Defendants were the

employer and/or principal of Defendant Roundtree and exercised control over the conduct of



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Defendant Roundtree and had the right to control the time, manner, method, and performance of

Defendant Roundtree’s employment and/or work.

        8.      Upon information and belief, at all relevant times, Defendant Roundtree was an

officer, director, agent, and/or employee of Wal-Mart Defendants and was acting within the

course and scope of her employment and/or work with Wal-Mart Defendants as the manager or

similarly titled position of the subject store.

        9.      At all relevant times, Plaintiff was a business invitee and guest of Defendants and

the subject store and properly and lawfully on the store premises.

        10.     On January 3, 2019, Plaintiff was seriously injured when she slipped on a foreign

substance, that was, and is believed to have been, blackberries, located on the floor around the

produce section of the store resulting in Plaintiff falling to the floor.

        16.     The condition of the floor around the produce section of the store before and

during the subject incident constituted a dangerous, hazardous, and/or unsafe condition that was

created by the actions and non-actions of Defendants or in the alternative, Defendants had actual

or constructive notice of the condition and knew or should have known that the said condition

constituted a dangerous, hazardous, and/or unsafe condition.

        11.     At all relevant times, Defendants owed a duty to store patrons, including Plaintiff,

to maintain the premises in a safe condition, conduct proper and thorough safety and other

inspections of the premises, discover and identify unsafe and dangerous conditions, take safety

precautions to warn of or eliminate unreasonable risks of harm to store patrons, including

Plaintiff, and to act appropriately so as not to cause injury and damage to store patrons, including

Plaintiff.

        12.     At all relevant times, Defendants owed a duty to store patrons, including Plaintiff,

to maintain, operate, and/or manage the premises in a safe and hazard-free condition and in the

event of the existence of a dangerous, hazardous, and/or unsafe condition, Defendants owed a

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duty to store patrons, including Plaintiff, to warn of such a dangerous, hazardous, and/or unsafe

condition and to remove such dangerous, hazardous, and/or unsafe condition.

       13.    Defendants were negligent, grossly negligent, negligent per se, willful, wanton,

and reckless and breached the duties owed to Plaintiff in one or more of the following ways:

              a.      Creating dangerous, hazardous, and/or unsafe conditions on the premises;

              b.      Overseeing the creation of dangerous, hazardous, and/or unsafe conditions
                      on the premises;

              c.      Failing to properly and thoroughly inspect the floor around the produce
                      section of the store;

              d.      Failing to properly maintain the floor around the produce section of the
                      store;

              e.      Failing to properly oversee that the floor around the produce section of the
                      store was maintained in a safe condition and free of dangerous, hazardous,
                      and/or unsafe conditions;

              f.      Failing to properly safeguard against dangerous, hazardous, and/or unsafe
                      conditions;

              g.      Failing to warn store patrons, including Plaintiff, of the dangerous,
                      hazardous, and/or unsafe conditions;

              h.      Failing to properly hire, train, supervise, retain, and/or monitor
                      Defendants’ employees and agents;

              i.      Failing to properly identify and report dangerous, hazardous, and/or
                      unsafe conditions at the subject store;

              j.      In failing to have, implement, maintain, and/or follow corporate policies
                      regarding the manner in which employees and agents are to carry out
                      duties and responsibilities so that the safety and well-being of store
                      patrons is not jeopardized;

              k.      In failing to adequately hire, train, supervise, and/or monitor the activities
                      of employees and agents at the subject store;

              l.      In failing to follow generally accepted standards of care applicable to the
                      operation of a commercial entity like the subject store;

              m.      In failing to follow generally accepted standards of care applicable to
                      employees and agents;


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                 n.     In violating the industry standard of care for owning, controlling,
                        supervising, operating, and managing a commercial entity like the subject
                        store;

                 o.     Failing to use the degree of care and caution that a reasonably prudent
                        entity would have used under the same or similar circumstances; and

                 p.     In such other particulars that may be established during the course of
                        discovery or at the trial of this action.

          All of which were a direct and proximate cause of the injuries and damages sustained by

Plaintiff described herein in violation of the statutes, laws, regulations, ordinances, industry

standards, customs, and practices of the State of South Carolina and the United States.

          14.    That Defendants’ negligent, grossly negligent, negligent per se, willful, wanton,

and reckless conduct and breach of the duties owed to Plaintiff were the direct and proximate

cause of the incident and injuries described herein.

          15.    That as a direct and proximate cause of Defendants’ negligent, grossly negligent,

negligent per se, careless, willful, wanton, and reckless conduct and breach of the duties owed to

Plaintiff, Plaintiff has suffered damages in the form of physical injury and harm, past and future

medical expenses, past and future physical and mental pain and suffering, permanent

injuries/impairment and disfigurement to her body, mental, emotional, and psychological

damage, and loss of enjoyment of life.

          16.    Defendants are liable to Plaintiff, including liability under the doctrines of

respondeat superior and agency, for the negligent, negligent per se, grossly negligent, careless,

reckless, willful, and wanton conduct of each Defendant and each Defendants’ employees,

agents, and/or subordinates, such conduct consisting of one or more of the particulars described

herein.

          WHEREFORE, Plaintiff prays for judgment against Defendants for the injuries and

damages sustained by Plaintiff described herein in an amount of actual and punitive damages to



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be determined by the trier of fact, for the costs of this action, and for such other and further relief

that this Court may deem just and proper.

                                                       Respectfully Submitted,

                                                       JOYE LAW FIRM, L.L.P.

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                                                       Attorneys for Plaintiff

North Charleston, South Carolina
This 18th day of January, 2022.




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